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UN|TED STATES DlSTR|CT COURT
CENTRAL D|STR|CT OF CAL|FORN|A

TACO BELL CORP.
Plaintifl

V.

TBWA WORLDWIDE lNC., and DOES
1 through 10, |nclusive,

Defendant(s).

 

Case No.: CV 04-7019 GPS (CWx)]

ORDER DENY|NG TACO BELL
CORP.’S MOT|ON FOR SUMN|ARY
JUDGMENT AND GRANT|NG
TBWA WORLDW|DE, |NC.’S,
MOT|ON FOR SU|V|MARY
JUDGMENT

The parties have filed cross-motions for summary judgment on P|aintiff

Taco Bell Corp.’s July 2003 Complaint, Which seeks contractual indemnification

from Defendant TBWA Worldwide lnc. (sometimes referred to herein by its

d/b/a, “ChiatlDay") on a $42 million judgment against Plaintiff in June 2003 for

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breach of an implied contract with a third party in the Wrench v. Taco Bell, No. iii
1:98-0v-45 (w.o. Mich.). §

On June 21, 2004, Plaintiff moved for summaryjudgment, claiming that,
as a matter of law, the Wrench judgment was binding upon Defendant and that, a
under the express terms of the parties’ agency agreement Defendant was
required to indemnify plaintiff for that judgment

On July 9, 2004, Defendant filed a cross-motion for summary judgment,
arguing the express terms of paragraph 7.1 of the parties’ agency agreement
precludes indemnity for any claim or liability which is the result of Plaintist “fault
or negligence” and that the Wrench jury verdict and Plaintist admissions in the
current action conclusively establish Plaintiff’s “fault or negligence" under the
agency agreement

After filing of those cross~motions before the Hon. David O. Carter but
before briefing on the motions was complete, the case was transferred to this
Court. After hearing argument on these cross-motions, the Court DENlES
Plaintist Motion for Summary Judgment and GRANTS Defendant’s Motion for

Summary Judgment for the reasons stated below.

|. BACKGROUND

The Court finds that the following facts are undisputed:

ln June 1996, two Taco Bell corporate executives, Ed Alfaro and his
boss, Rudy Pollak, approached Tom Rinks and Joe Shields, the owners of a
Michigan corporation, Wrench LLC (“Wrench”), at a licensing trade show in New
York City. Wrench was offering its cartoon character, the “Psycho Chihuahua,”
for licensing at the trade show. Pollak and Alfaro discussed the Psycho

Chihuahua with Rinks and Shields. Alfaro suggested the Psycho Chihuahua

 

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character “was a natural Ht for Taco Bell" and that he would like to “explore the j
possible use of Psycho Chihuahua in Taco Bell’s licensing business.” Alfaro left:§

the trade show with a Psycho Chihuahua tee shirt, which he showed to Taco
Bell’s then CEO, John Martin.

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Within days after the June 1996 licensing show, Alfaro called Rinks and
informed him that he had “discussed the Psycho Chihuahua with an executive
of Taco Bel|, who had reacted positively to Psycho Chihuahua.” During the
Summer and Fall of 1996, Wrench and Alfaro discussed "various ideas
regarding a Psycho Chihuahua and how it might be used by Taco Be||” and “the
general desirability of coupling a retail licensing effort with an ad campaign.”
Wrench also sent A|faro various materials bearing the image of the Psycho
Chihuahua.

Alfaro showed the Psycho Chihuahua character to other senior managers
at Taco Bell and showed some Psycho Chihuahua materials to an employee of
Taco Bell’s then-current advertising agency, Bozell Worldwide. ln July1996,
Alfaro was involved with a focus group to which Wrench's Psycho Chihuahua
character was shown. Alfaro later reported to Chris lVliller of Taco Bell that the
“Psycho [Chihuahua] was a hands-down winner” in the July 1996 focus groups.
The memorandum was copied to a senior Taco Bell executive, Vada Hill.

|n November 1996, A|faro and members of his staff had a dinner meeting
with Arlene Scanlan and Neal Seideman of Strategy Licensing, a
Connecticut-based agency that had been retained by Wrench as its licensing
agent They discussed Taco Bell’s possible license of Wrench's Psycho
Chihuahua character, including use in Taco Bell’s television commercia|s. The
parties also discussed the fact that, since June 1996, Alfaro had been talking

with others at Taco Bell Who were aware of the Psycho Chihuahua and liked it,

 

 

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and that Aifaro believed that Psycho Chihuahua would make a strong “mascot”

for Taco Bell.

At the dinner meeting, Alfaro and Pol|ak suggested that Scanlan submit a

proposal stating financial terms for the use of the Psycho Chihuahua character
by Taco Bell. Thereafter, Scan|an sent a proposal to Alfaro and Pollak. After
receiving Scanlan’s proposa|, Taco Bell continued its discussions with Wrench.
The parties reached an understanding that if Taco Bell wished to use the
Psycho Chihuahua character, it would have to reach an agreement with Wrench
specifying the terms of such use.

By late 1996 or early 1997, Taco Bell was seeking a new advertising
agency to replace Bozell. ln the meantime, Alfaro continued to work with
Wrench regarding the possible use of the Psycho Chihuahua character by Taco
Bell. ln February1997,Alfaro met with Wrench in Grand Rapids, |Vlichigan, to
“brainstorm" ideas as to how Psycho Chihuahua might be developed for
inclusion in Taco Bell’s marketing effort, and to develop a “blow-away”
presentation ln considering the various concepts discussed at the meeting, the
participants “focused on the concept of Psycho Chihuahua craving or being
obsessed with Taco Bell food." They also discussed “the notion of depicting
Psycho Chihuahua as a live Chihuahua, as opposed to a cartoon.” At that
meeting, the participants also discussed two of Wrench's concepts for Taco Bell
called “Go Psycho” and “Psycho-size it.”

ln April 1997, Strategy Licensing representatives traveled to Taco Bell’s
offices. A|faro knew that the Psycho Chihuahua image would have to be
adapted to a point where it would be saleable to Taco Bell’s executive staff and
Taco Bell’s customersl Wrench had agreed to coordinate with Alfaro to change

the image of their Psycho Chihuahua. Alfaro believed that the appearance of

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the Psycho Chihuahua character changed significantly in certain documents
created by Wrench after the February 1997 meeting. Alfaro testitied that he
believed he was the “driving force” behind certain changes in Wrench's

presentation of its Psycho Chihuahua character. Alfaro stated in January 1999

Wrench “closely resemble[d]” the Chihuahua which subsequently appeared in
Taco Bell’s commercia|s.

|n early 1997, the Wrench Psycho Chihuahua character was also being
presented to Taco Bell by an entirely different source. At or about that time,
TLP, a promotion agency, presented various concepts to Taco Bell for a
possible “Cinco de lVlayo” promotion. Wrench's Psycho Chihuahua was one of
several concepts TLP proposed to Taco Bell for the Cinco de Mayo promotion.
Hill was present at the meeting during which TLP presented the Psycho
Chihuahua concept to Taco Bell. Taco Bell conducted focus group research to
study consumer reaction to several promotional concepts, including the Psycho
Chihuahua. The focus groups were authorized by five separate employees of
Taco Be|l, including Hill and Linda Firey-Oldroyd. A full report of the qualitative
findings of the focus group research were set forth in a February 21, 1997,
memorandum to Hill. Three Taco Bell executives, Firey-Oldroyd, Peter Waller,
and Miller, among others, were copied on the report The memorandum stated
that Psycho Chihuahua was one of only two concepts that “consumers were
excited about” and which "consistently sparked positive consumer response.”
The memo recommended that “any necessary improvements" be made to the
Psycho Chihuahua promotional concept

|n March 1997, Taco Bell hired TBWA as its advertising agency. The

parties set forth the terms of their relationship in an interim Letter Agreement

 

that, by April 1997, the Psycho Chihuahua character that he had developed with

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dated lVlarch 18, 1997. The parties' formal agency-client agreement which the
parties agreed would be construed in accordance with Caiifornia state iaw,
became effective as of April 1, 1997.

On May 20, 1997, and June 2, 1997, TBWAl presented to Taco Bell
executives, including Peter Waller and Vada Hilll approximately 30 television
commercial ideas for Taco Bell’s future advertising campaign. Among the 30
creative ideas was a commercial featuring a boy Chihuahua passing a girl
Chihuahua to get to a person eating Taco Bell food, which was presented by
TBWA to Taco Bell at the June 2, 1997, meeting. lt is undisputed that Hiii,
Waller, Firey-Oldroyd and lViiller from Taco Bell - all of whom had been copied
on prior documents concerning the Psycho Chihuahua - attended ali or part of
the June 2, 1997, meeting at TBWA. None of these Taco Bell employees
advised TBWA during the June 2, 1997, meeting that another Chihuahua idea
had previously been presented to Taco Bell by both Wrench and TLP. Taco
Bell also admits that it never discussed the Psycho Chihuahua character with
TBWA prior to June 2, 1997. Taco Bell approved TBWA's Chihuahua idea for
production and broadcast Subsequentiy, Taco Bell launched a national
advertising campaign featuring a Chihuahua, and approved additional
Chihuahua advertisements for production and broadcast

in June 1997, A|faro met again with Strategy Licensing representatives in
connection with a trade show in New Vork, and expressed an interest in
arranging further presentations of the Psycho Chihuahua character to key
decision makers at Taco Bell. After learning in June 1997 “that TBWA had
independently developed a commercial featuring a live Chihuahua," Aifaro sent
a memorandum to lVliller, which was copied to Hiil, on June 27, 1997, to let them

know that he had been working with Wrench on a Chihuahua idea. Aifaro’s

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memorandum referenced the fact that the Psycho Chihuahua had been a
“hands-down winner” in the July 1996 focus groups. The memorandum
mentioned “revisiting" the Psycho Chihuahua concept in light of “the parallel
path” that TBWA seemed to be taking in “using a real Chihuahua in a Taco Bell `
spot." Aifaro's memorandum was not disclosed to TBWA.

ln July 1997, after a newspaper article was published revealing Taco
Bell’s intent to air a test commercial featuring a live Chihuahua, Scan|an wrote a
memo to Aifaro expressing her concerns about the planned campaign
Specificaily, she questioned whether the Taco Bell marketing people
“understood the proprietary nature of the information and ideas [Wrench] had
developed.” Scanlan’s memo was not disclosed to TBWA.

in January 1998, Wrench LLC Hied a complaint against Taco Bell in the
United States District Court for the Western District of lVlichigan (the “Wrench
Action”) claiming that Taco Bell had used the Psycho Chihuahua character in its
television commercials Taco Bell informed TBWA in January 1998 that
Wrench had asserted a claim against Taco Bell for breach of an implied-in-fact
contract between Wrench and Taco Bell. A|though various causes of action
were asserted by Wrench against Taco Bell, all but the breach of impiied-in-fact
contract claim were dismissed it is undisputed that TBWA was not a party to
the Wrench Action, that none of TBWA’s then-current employees testified at the
Wrench trial, that Wrench did not allege that it had had any direct dealings with
TBWA, and that TBWA was not a party to the alleged impiied-in-fact contract
between Wrench and Taco Bell. Ultimately, a jury determined that Taco Bell
had breached an implied-in-fact contract to pay Wrench for the use of the
Psycho Chihuahua character. l

Taco Bell has conceded that TBWA developed the idea of using a

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Chihuahua dog in Taco Bell’s ads on or before June 2, 1997, and this idea was `
developed without any infiuence or input from Taco Bell. Taco Bell also admits 17
that it never disclosed to TBWA prior to June 2, 1997, any of the ideas concepts ’.` i~,
or images Taco Bell had received from Wrench. From the commencement of w
the Wrench litigation through the Wrench verdict Taco Bell maintained that the
Wrench Action was without merit and that Taco Bell had no contract with
Wrench, either express or impiied. While denying any contractual commitment
to Wrench, Taco Bell admittedly approved the production and airing of
approximately 50 Chihuahua ads between January 1998 and June 2000.

On January 26, 2003, Taco Bell made its first demand for indemnification
from TBWA. On or about July 8, 2003, Taco Bell commenced the present

action for indemnification against TBWA.

ll. LEGAL STAN DARDS

A. SUMMARY JUDGMENT STANDARD

“Summary judgment is proper if ‘the pleadings, depositions, answers to
interrogatories and admissions on file, together with the affidavits, if any, show
that there is no genuine issue as to any material fact and that the moving party
is entitled to judgment as a matter of law.”’ McNuIty v. Taser Int’l lnc., No.
SACV 01-395-DOC, 2002 WL 257860, at *1 (C.D. Cai. Feb. 4, 2002) (Carter,
J.), quoting Fed. R. Civ. P. 56(c). “[T]he moving party has no burden to negate
or disprove matters on which the opponent will have the burden of proof at tria|.”
Century 21 Regr'on l/, Inc. v. Prudential Real Estate Affiliates, No. SACV97-203
DOC (EEX), 1999 WL1210818, *2-3 (C.D.Cal. Aug. 4, 1999) (Carter, J.)
(internal citations omitted). “Where the moving party has no burden of proof at

trial, the moving party‘s burden is met by ‘showing’--that is, pointing out to the

 

 

 

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District Court--that there is an absence of evidence to support the nonmoving
party’s case." Ceiotex Corp. v. Catrett, 477 U.S. 317, 325 (1986).

“[T]he existence of some alleged factual dispute between the parties will
not defeat an otherwise properly supported motion for summaryjudgment; to
defeat the motion, the non-moving party must affirmatively set forth facts
showing there is a genuine issue for trial.” McNu/ty, 2002 WL 257860 at *2,
citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242l 248-49 (1986). “When the
moving party meets its burdenl the ‘adverse party may not rest upon the mere
allegations or denials of the adverse party’s pleading, but the adverse party’s
response, by affidavits or as othenrvise provided in this ru|e, must set forth
specific facts showing that there is a genuine issue for trial. if the adverse party
does not so respond, summary judgment if appropriate shall be entered

against the adverse party."’ Id., citing Fed. R. Civ. P. 56(e).

il|. D|SCUSS|ON

The issues of this case require application of the laws of two states:
Caiifornia and i\/iichigan. On issues relating to the interpretation of the agency
agreement paragraph 12 of the agreement controls: lt provides for application
of Caiifornia law.

On issues of claim and issue preclusion, the Court looks to Michigan |aw.
Specifical|y, this Court looks to Michigan law to assess the preclusion effect of
the Wrench judgment “Federa| law governs the collateral estoppel effect of a
case decided by a federal court.” Trevino v. Gates, 99 F.3d 91 ‘i, 923 (9th Cir.
1996); citing Fireman’s Fund lns. Co. v. lnt’l Mkt. Place, 773 F.2d 1068, 1069
(9th Cir. 1985). i-iowever, the preclusive effect of a federal diversityjudgment is

determined by the claim-preclusive rule of the state whose substantive law was

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applied by the federal court sitting in diversity. Semtek Int’l lnc. v. Lockheed
Martin Corp., 531 U.S. 497, 508-09 (2001) (emphasis added). Simi|arly, the §§
coiiateral estoppel effect of an earlier federal diversityjudgment is determined
under the law of the state in which the earlier federal diversity court sat See
Pardo v. O/son & Sons, Inc. 40 F. 3d 1063l 1066 (9th Cir. 1994). Here, the
Wrench judgment Was entered by a federal court in Michigan applying Michigan
law. Under Serntek, Michigan law therefore determines the preclusive effect of
the Wrench judgment See also Armstrong v. Rushton, 294 B.R. 344 (10th Cir.
2003)

There are two bases for denying Taco Bell’s motion for summary
judgment on its claim for indemnification and granting TBWA’s cross-motion for
summaryjudgment dismissing Taco Bell’s complaint in its entirety. First Taco
Bell’s “fault” under the terms of the parties’ agency agreement precludes
recovery from TBWA under the agreements indemnification provisions.
Second, Taco Bell cannot demonstrate that TBWA is bound by the findings of
the jury in the underlying Wrench action.

A. TACO BELL’S FAULT

1. The Agency Agreement

The current action concerns Taco Bell’s claim for indemnification from
TBWA for the $42 miiiion judgment against Taco Bell for breach of an
undisclosed implied contract with a third party. TBWA’s indemnihcation
obligations to Taco Bell, if any, are governed by paragraph 7.1(i) of the parties’
agency agreement The agreement expressly states TBWA is not required to
indemnify Taco Bell for any liability based upon or arising out of Taco Bell’s
“fault or negligence.” As discussed belowl paragraphs 7.1(ii) and (iii) of the

agency agreement have no separate applicability because Taco Bell’s claim for

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indemnification rests entirely on the Wrench jury’s finding that the Chihuahua
character used in Taco Bell’s advertising was not “independently created by
Chiat Day."

Paragraph 7.1(i) of the agency agreement requires TBWA to indemnify

Taco Bell for any liability “based upon or arising out of any materials created,
produced and/or furnished by [TBWA] for [Taco Bell] (except for claims covered
by paragraph 7.2 beiow)." Claims covered by paragraph 7.2 are thus

specifically excepted from TBWA’s indemnification obligation:

7.1 Agency lndemnification. [TBWA] agrees to defend, indemnify and
hold [Taco Bell], its ochers, directorsl employees, and agents harmless
from any |oss, damage, |iabi|ity, claim, demand, suit or expense, including
reasonable attorneys’ fees and costs, that [Taco Bell] may incur or be
liable for as a result of ay claim, suit or proceeding made, threatened or
brought against [Taco Bell] based upon or arising out of (i) any materials
created, produced and/or furnished by [TBWA] for [Taco Bell] (except for
claims covered by Paragraph 7.2 below); (ii) Agency’s fault or negligence
in the performance of its obligations hereunder; or (iii) Agency’s breach of

its obligations under this agreement

(Ernphasis added). The excepted claims defined by Paragraph 7.2 of the
agency agreement include liabilities “based upon or arising out of Fi'aco Bell’s]

fault or negligence.”

7.2 C|ient indemnification [iaco Bell] agrees to defend, indemnify and
hold harmless [TBWA] its aleiated companies and their ofticers,
directors, employees and agents harmless from any ioss, damage,
|iability, ciaim, demand, suit or expense, including reasonable attorneys’

fees and costs, that [TBWA] may incur or be liable for as the result of any

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claim, suit or proceeding made, threatened, or brought against [TBWA]

based upon or arising out of (iv) [Taco Bell’s] fault or negligence

(Emphasis added). Therefore, pursuant to the express language of paragraphs j

7.1 and 7.2 of the agency agreement TBWA is not required to indemnify Taco
Bell for any liability that is based upon or arises out of the “fault or negligence of
[Taco Bell].”

As Taco Bell’s complaint is one for indemnification of the Wrench liability,
Taco Bell’s claims under paragraphs 7.1(ii) and (iii) of the agency agreement
flow from and are dependent upon Taco Bell’s paragraph 7.1(i) claim and have
no separate applicability in this action. Paragraph 7.1(ii) requires TBWA to
indemnify Taco Bell in the event of “[TBWA's] fault or negligence in the
performance of its obligations” under the agency agreement Paragraph 7.1(iii)
requires TBWA to indemnify Taco Bell in the event of “[TBWA’s] breach of its
obligations” under the agency agreement

Taco Bell’s claims under paragraphs 7.1(ii) and (iii), like its claim under
paragraph 7.1(i)l are based on the Wrench jury’s hnding that TBWA did not
“independently create" the Chihuahua character used in Taco Bell’s advertising
No other basis for indemnification liability is suggested Beyond its collateral
estoppel-based 7.1(i) claim, Taco Bell does not attempt to prove any “fault”
“negligence," or “breach” on the pari of TBWA that would bring its claims for
indemnification within the scope of paragraphs 7.1(ii) and (iii). in fact Taco Bell
contends that “TBWA’s [indemnification] obligation was without regard to
whether TBWA’s fault was the cause of the claim or iiability.”

Moreover, apart from its attempt to bind TBWA to the Wrench jury’s
finding that TBWA did not “independently create" the Taco Bell Chihuahua

character, Taco Bell does not offer any separate proof that TBWA did not

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1 independently create the Chihuahua character that appeared in Taco Bell’s
2 advertising To the contrary, Taco Bell’s pleadings in this action concede that t i:‘l
3 TBWA developed the idea of using a Chihuahua dog in Taco Bell advertising ' i,.
4 without any input or influence from Taco Bell --- i.e. without any of the ideas

5 Taco Bell had previously received from Wrench.

6 2. Taco Bell’s “Fau|t” Under The Agency Agreement

7 As discussed above, the indemnification clause of the parties’ agency

8 agreement specifically excludes from TBWA’s indemnification obligation any

9 liability that is “based upon or arises out of [Taco Bell’s] fault and negligence.”
10 With regards to this agreement the facts show that TBWA is not liable to Taco
11 Bell for the following reasons First Taco Bell is bound by the Wrench finding
12 that it breached an implied contract to pay Wrench for use of ideas, concepts

13 and images Wrench supplied Taco Bell in 1996 and 1997. Second, TBWA was
14 not a party to the impiied-in-fact contract between Taco Bell and Wrench and

15 was not aware of Taco Bell’s implied contract with Wrench. Third, TBWA had
16 no knowledge of the Psycho Chihuahua character or Taco Bell’s dealings with
17 Wrench before proposing a Chihuahua character for Taco Bell ads on June 2,
18 1997. Finaiiy, Taco Bell approved the Chihuahua character proposed by

19 TBWA, and then continued to approve the Chihuahua advertisements for
20 production and broadcast after commencement of the Wrench lawsuit
21 notwithstanding Taco Bell’s knowledge of its undisclosed contractual

22 commitment to Wrench.1

 

23 Aithough collateral estoppel does not bind TBWA in this instance,
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in response to TBWA’s motion for summary judgment Taco Bell’s opposition papers
denied that Taco Beli had “approved" the airing of the Chihuahua commercials However, after TBWA’s
26 reply memorandum cited the undisputed trial and deposition testimony of former Taco Bell officials that
Taco Bell had approved the Chihuahua ads for airing, Taco Bell’s counsel, at orai argument conceded
27 that Taco Bell had approved the ads

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collateral estoppel does have one application in this case. Taco Bell, as a party

to the Wrench action, is estopped from relitigating the findings underlying the

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Wrench jury verdict “The doctrine of collateral estoppel precludes relitigation of 1
an issue in a different subsequent action between the same parties or their l
privies when the earlier proceeding resulted in a valid final judgment and the
issue in question was actuaiiy and necessarily determined in that prior
proceeding." Dearborn Heights Sch. Dist. No. 7 v. Wayne County MEA/NEA,
233 Nlich. App. 120, 124, 592 N.W.2d 408, 411 (1998). Moreover, “‘[a] party
precluded from relitigating an issue with an opposing party is also precluded
from doing so with another person unless he lacked full and fair opportunity
to litigate the issue in the first action Monat v. State Farm lns. Co., 469
Mich. 679, 692, 677 N.W. 20 843, 850 (2004) (quotations omitted). Taco Bell
was a party to the Wrench action. lt is bound by the Wrench jury findings.

The jury verdict thus supports the conclusion that the Wrench liability was
a result of Taco Bell’s “fault and negligence.” The only issue litigated at the
Wrench trial was a claim for breach of an implied-in-fact contract between
Wrench and Taco Bell. The jury determined that “Wrench and Taco Bell had a
mutual understanding that if Taco Bell used the Psycho Chihuahua character in
its advertising and on products, Taco Bell would pay Wrench for this use."
TBWA was not a party to that implied-in-fact contract Nloreover, it is
undisputed that TBWA did not participate in any of the dealings that resulted in
the implied-in-fact contract between the parties. Those dealings commenced in
June 1996 nine months before TBWA was retained as Taco Bell’s advertising
agency.

The Wrench jury also determined that “Taco Bell used the Psycho

Chihuahua character in its advertising from 1997 to 2000.” Notably, the term

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“Psycho Chihuahua character" was defined in the jury instructions not simply as
the Chihuahua character that was owned by Wrenchl but more broadiy, as the
“the ideas, concepts, and images based on the identifiable Psycho Chihuahua
character created by Wrench and provided to Taco Bell by Wrench.”
(Emphasis added). lVloreover, the jury was instructed that to find an
impiied-in-fact contract it had to find that “Wrench disclosed the Psycho
Chihuahua character to Taco Bell at Taco Bell’s request.” Therefore, when the
jury determined that Taco Bell “used the Psycho Chihuahua character in its
advertising from 1997 to 2000," the character Taco Bell “used” was the Psycho
Chihuahua character that Wrench customized and modified at Taco Bell’s
request and then “provided to Taco Bell.”

lt is also undisputed that TBWA was never shown or othenivise exposed
to the Psycho Chihuahua character prior to June 2, 1997, when TBWA first
presented a Chihuahua advertising idea to Taco Bell. Taco Bell admitted that it
never advised TBWA about the Psycho Chihuahua character at any time before
or during the June 2, 1997, session when TBWA presented its first Chihuahua
commercial concept to Taco Bell. Moreover, in paragraph 14 of the Compiaint
Taco Bell has conceded that it “did not influence or have input into [TBWA’s]
idea of using a Chihuahua dog for Taco Bell advertising." Additionaily, after
Wrench filed suit in January 1998, Taco Bell denied any contractual obligation
to Wrench, while continuing to approve the airing of some 45 additional
Chihuahua commercials between January 1998 and June 2000. As a matter of
law, then, the resulting liability for breach of an undisclosed implied contract was
Taco Bell’s “fault or negligence.” No other inference can be drawn from the
undisputed facts.

The Wrenchjury also determined that “the Chihuahua character used by

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Taco Bell was not independently created by Chiat Day.” The jury instruction,
however, intertwined Taco Bell and Chiat/Day and required the jury to consider \`§'*
whether “Taco Bell and Chiat/Day created the Taco Bell Chihuahua on an ix
independent creative, but parallel path." (Emphasis added). The jury was also l
instructed to consider “the access or lack thereof to the Psycho Chihuahua
character by people at Taco Bell and Chiat/Day." (Emphasis added). The
undisputed testimony establishes that Wrench modihed the Psycho Chihuahua
at Taco Bell’s request to almost resemble a “normal Chihuahua,” and that Taco
Bell never told TBWA about a contractual commitment to Wrench with regard to
the Psycho Chihuahua character.

Finaiiy, paragraph 4.1 of the parties’ agency agreement provides that:
“[TBWA] will obtain [Taco Bell’s] prior approval for ali work [TBWA] does on
[Taco Bell’s] beha|f.” The agreement further provides at paragraph 6.4 that
“[TBWA] will be entitled to rely and act upon any instruction, approval, or
authorization given by [Taco Bell] or by any of [Taco Bell’s] representatives.” lt
is undisputed that Taco Bell initially approved the production and broadcast of
television commercials featuring the Chihuahua concept that was first presented
by TBWA on June 2, 1997-notwithstanding the fact that Taco Bell was the only
party that had knowledge of the contractual commitment to Wrench. And
though Taco Bell reserved the right in the agency agreement to “modify, reject
cancel or discontinue any and all work in process” (Paragraph 6.3), Taco Bell
continued to approve the production and broadcast of additional commercials
featuring a Chihuahua character, after the Wrench lawsuit was commenced,
while denying that it had any contractual obligations to Wrenchl

Based on the Wrench jury findings, and Taco Bell’s admissions in this

case, Taco Bell’s “fault or negligence” under paragraph 7.2 is established as a

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1 matter of iaw, and TBWA, therefore, has no obligation to indemnify Taco Bell

2 pursuant to the agreement2 ’
3 1‘,
4 B. OFFENSlVE COLLATERAL ESTOPPEL

5 Taco Bell’s inability to establish that TBWA is bound by the jury verdict in

6 Wrench presents another separate and independent basis for granting TBWA’s
7 motion for summaryjudgment. Taco Bell rests its case for indemnihcation on
8 the Wrench jury’s finding that “the character used by Taco Bell was not
9 independently created by Chiat Day.” Taco Beii incorrectly argues that this
10 hnding establishes TBWA’s indemnification obligations to Taco Bell under the
11 parties’ agency agreement No other causally-connected basis for
12 indemnification is asserted
13 TBWA is not bound by the jury verdict in Wrench, First, Taco Bell cannot
14 establish an “identity of issues” between the implied-in-fact contract claim in
15 Wrench and the fault-based indemnification claim in the current action. Second,
16 Taco Bell failed to show TBWA and Taco Bell were in privity with respect to the
17 Wrench action. Thus, application of the estoppel bar would violate TBWA’s due
' 18 process rights. lt would be “inequitable” therefore to bind TBWA to the Wrench
19 jury findings under these circumstances
20 1. “|dentity Of issues”
21 Under Michigan iaw, it is weil established that, “[i]n order for collateral
22 estoppel to app|y, the issue [being iitigated] must be identical to that determined
23 in the prior action.” Amalgamated Transit Union, Local 1564 v. Se. Mich.

24 Trarisp. Aufh., 437 Mich. 441, 451, 473 N.W.2d 249, 253-54 (1991). “The
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26 2 The Court will not address Taco Be|i’ argument that TBWA is liable for
proportional indemnification because the Court finds that TBWA is not liable for
27 indemnification at ali under these given facts.

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l issues must be identical, and not merely similar and the ultimate issues must
2 have been both actually and necessarily litigated.” Eaton County Road ‘:::‘
3 Commr’s v. Schultz, 205 Mich. App. 371, 376, 521 N.W.2d 847, 850 (1994) ' §
4 (internal citations omitted). See also Little v. United Stafes, 794 F.2d 484, 487 l
5 (9th Cir. 1986) (“‘[s]imiiarity between issues is not sufficient collateral estoppel
6 is applied only when the issues are identicai.”) (emphasis in original) (quoting
7 Shapley v. Nev. Bd. of State Prison Comm’rs, 766 F.2d 404, 408 (ch Cir.
8 1985)).
9 Here, Taco Bell has not established that the issue for which it seeks a
10 collateral estoppel bar in the current action is “identical” to the issue decided in
11 Wrench, or that it was “actuaiiy and necessarily litigated" in that action. The
12 ultimate issue in the current litigation is whether TBWA is required to indemnify
13 Taco Bell for the Wrenchjudgment pursuant to the terms of the parties’ agency
t 14 agreement Because the indemnification provisions of the agency agreement
15 are “fault” based, TBWA’s indemnification obligation to Taco Bell does not arise
16 simply by virtue of a judgment against Taco Bell. Paragraph 7.1(i) of the
17 agency agreement - which governs TBWA’s indemnification obligations for “any
18 materials created, produced and/or furnished by [TBWA] for [Taco Bell]” -
19 specifically excepts from TBWA’s indemnification obligation any claim that is
20 based upon or arises out of "[Taco Bell’s] fault or negligence.” Because
21 liabilities arising from Taco Bell’s “fault or negligence” are excluded from
22 TBWA’s indemnification obligation, a determination of that “fault or negligence”
23 is a necessary antecedent to indemnihcation under the agency agreement See
24 Heppler v. J.M. Peters Co., 73 Cal.App.4th 1265, 1277, 87 Cal.Rptr.2d 497, 509
25 (1999) (rejecting plaintiffs argument that indemnity obligation had been f
26 triggered because “indemnitor fault was a prerequisite for indemnity”);
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1 Rossmoor Sanitation, lnc. v. Pylon, lnc., 13 Cal.3d 622, 633, 119 Cal.Rptr. 449,

2 456 (1975) (holding that “the question whether an indemnity agreement covers l
3 a given case turns primarily on contractual interpretation [and] [w]hen the 1
4 parties knowingly bargain for the protection at issue, the protection should be
5 afforded”)3

6 in contrast the sole issue litigated at the Wrench trial was a claim for

7 breach of an implied-in-fact contract between Taco Bell and Wrench concerning
8 Taco Bell’s “use" of Wrench’s Psycho Chihuahua character. As part of its

9 verdict the Wrench jury determined “that Taco Bell used [Wrench’s] Psycho

10 Chihuahua character in its advertising from 1997-2000 and that the character

11 used by Taco Bell was not independently created by Chiat Day.” Taco Bell

12 argues that this limited portion of the Wrench jury verdict conclusively

13 establishes TBWA’s “fault” for the purposes of determining TBWA’s

14 indemnification obligations to Taco Bell.

15 The Court concludes Taco Bell’s argument fails because it is undisputed
16 that the Wrench jury was never instructed to decide the issue of “fault or

17 negligence” under the indemnification provisions of the agency agreement

18 With respect to the issue of “independent creation,” the jury was instructed as

 

19 follows:

20 [C]onsider whether, on the one hand, Taco Bell used Wrench’s creation of
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Taco Bell relies upon cases such as United States v. Neumann

23 Caribbean lnt’l, 750 F.2d 1422, 1426 (9th Cir. 1985); Barron v. United States,
654 F.2d 644, 649-50(91h Cir. 1981 ); and Eller v. Metro lndus. Contracting,

24 lnc., 261 l\iiich. App. 569, 575, 683 N.W. 2d 242,246-47 (2004) to argue TBWA,
as “indemnitor,” is bound by the Wrench jury verdict The reliance is misplaced
25 and ignores the plain language of paragraphs 7.1. and 7.2 of the agency

26 agreement which make Taco Bell, and not TBWA, the “indemnitor" for any
claims which arise from Taco Bell’s “fault or negligence.’l Therefore, Neumann,
27 Barron & Eller are inapplicable

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the Psycho Chihuahua character or, on the other hand whether Taco Bell `

and Chiat/Day created the Taco Bell Chihuahua on an independent §

creative, but parallel path.
(Emphasis added). The jury was also instructed to consider “the access or lack l
thereof to the Psycho Chihuahua by people at Taco Bell and Chiat/Day."
(Emphasis added). The jury was thus instructed to determine whether “Taco
Bell and Chiat/Day,” together, independently created the Taco Bell Chihuahua.
lt is undisputed that the court never instructed the jury to parse out “fault or
negligence” as between Taco Bell and TBWA. According|y, the issue of “fault
or negligence” under the indemnification clause of the agency agreement was
not “actuaiiy litigated” in Wrench.

Because resolution of the issues in this action requires inquiry into
matters that were not litigated in Wrench, Taco Bell cannot establish an identity
of issues between the two actions, and TBWA is not bound by the findings in
Wrench. See Amalgarnated Transit Union, 437 Mich. at 451-54, 473 N.W.2d at
253-54 (holding that prior finding concerning contract issue did not have
preclusive effect in subsequent action concerning related statutory issue,
because subsequent action required additional inquiries beyond those
presented in prior contract action); Horn v. Mich. Dep't of Corr., 216 iViich.App.
58, 62-63, 548 N.W.2d 660, 662 (1996), appeal denied, 456 Mich. 881, 570
N.W.2d 656 (1997) (holding that collateral estoppel did not apply because
inquiry into whether plaintiff had been sexually harassed in context of prior
work-related disability dispute was “hard|y identicai” to issue of whether
employee could establish elements of sexual harassment retaliation, and
constructive discharge in subsequent action).

Moreover, under Michigan law, “[c]oiiaterai estoppel applies only when

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the basis of the prior judgment can be ciearly, definitely, and unequivocally

ascertained Ditmore v. Michalik, 244 Niich.App. 569, 578, 625 N.W. 2d 462,

467 (2001), appeai denied 466 Mich. 896, 636 i\i.w.zd 141 (2001). The Nimh j

Circuit has adopted a similar view: “[c]oiiaterai estoppel is inappropriate if there q
is any doubt as to whether an issue was actually litigated in a prior proceeding."
Eureka Fed. Sav. and l_oan Ass’n v. Am. Casualty Co. of Reading, Pa., 873
F.2d 229, 233 (ch Cir. 1989). “if the decision could have been rationally
grounded upon an issue other than that which the defendant seeks to foreclose
from consideration, collateral estoppel does not preclude relitigation of the
asserted issue.” Davis 8 Cox v. Summa Corp., 751 F.2d 1507, 1518-19(91h
Cir. 1985). “‘Necessary inferences from the judgment pleadings and evidence
will be given preclusive effect.”’ Little, 794 F.2d at 487, quoting Davis & Cox,
751 F.Zd at 1518. “But if there is doubt collateral estoppel will not be applied.”
ld.

As discussed above, Taco Bell seeks to bind TBWA to the portion of the
Wrench jury’s finding that states “that the character used by Taco Bell was not
independently created by Chiat Day.” However, in the corresponding jury
instruction, the jury was instructed to consider whether “whether Taco Bell and
Chiat/Day created the Taco Bell Chihuahua on an independent creative, but
parallel path.” The court also asked the jury to consider “the access or lack
thereof to the Psycho Chihuahua character by people at Taco Bell and
Chiat/Day.” (Emphasis added). As noted supra, the Wrench jury was never
instructed to determine which party, Taco Bell or TBWA, was at fault for the
liability in Wrench. At the very minimum, the jury instruction raises a doubt or
confusion as to the basis and breadth of the jury’s hnding that “the character

used by Taco Bell was not independently created by Chiat Day.” Where doubt

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exists as to the basis for the jury’s finding, collateral estoppel does not apply.

2. “Priviiy”

Michigan iaw also requires that, for collateral estoppel to apply, the same `,

parties or their privies, must have had a full and fair opportunity to litigate the
issue to be precluded Monat 469 Mich. at 682-83, 677 N.W. 2d at 845-46.
Michigan’s Supreme Court held that “[t]o be in privity is to be so identified in
interest with another party that the first litigant represents the same legal right
that the later litigant is trying to assert." Adair v. Mich. State, 470 Mich. 105.
122, 680 N.W.2d 386, 396 (2004), remanded on other grounds4 Michigan
courts have held that application of collateral estoppel is appropriate where
there is “substantial identity” between the parties Dearborn Heights Sch. Dist.
No. 7, 233 Mich. App. at 126, 592 N.W.2d at 412. “The purpose of the
substantial-identity rule is to ensure that collateral estoppel is applied only

where the interests of the litigating party are adequately represented in the first

proceeding." ld.5

 

t Privity has also been defined by the Michigan Supreme Court as
“‘mutuai or successive relationships to the same right of property, or such an
identification of interest of one person with another as to represent the same
legal right.”’ Sloan v. Madison Heights, 425 Mich. 288, 295, 389 N.W.2d 418,
422 (1986) (quoting Peterson v. Fee lnt’l, Ltd., 435 F. Supp. 938, 942 (W.D.
Ok|a. 1975)). A privy includes “one who, after rendition of the judgment has
acquired an interest in the subject matter affected by the judgment through or
under one of the parties as by inheritancel succession, or purchase.” Howell v.
i/ito’s Trucking and Excavating Co., 386 Mich. 37, 43, 191 N.W.2d 313, 316
(1971). For ali the reasons set forth herein, Taco Bell has not established
privity between Taco Bell and TBWA under Michigan’s standards

5 See also State Farm Fire & Cas. Co. v. Byrd, 729 F. Supp. 1265,
1267 (N.D. Cai. 1990), aff’d, 933 F.2d 772 (9th Cir. 1991), quoting Clemmer v.
Harfford lns. Co., 22 Cal.3d 865, 875 (1978) (“ln the context of coiiateral
estoppei, due process requires that the party to be estopped must have had an

identity or community of interest with, and adequate representation by, the
(continued...)

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For collateral estoppel purposes Taco Bell and TBWA are not in privity
with one another with respect to the Wrench action because their interests in
that action were in direct conflict under the terms of the agency agreement
See Richards v. Jefferson County, 517 U.S. 793, 801-02 (1996) (where
interests of class members who were party to a prior litigation are in conflict with
absent members who were defendants in subsequent action, privity and due
process requirements are not met). Because the agency agreement exempts
TBWA from any duty of indemnification resulting from the “fault or negligence”
of Taco Bell, had both entities been parties in Wrench, Taco Bell and TBWA’s
interest would have been diametrically opposed Taco Bell would have had an
interest in structuring a defense which preserved its right to indemnification
under the agency agreement TBWA, on the other hand, would have structured
a defense establishing Taco Bell’s fault with respect to the Wrench liability,
thereby defeating the contractual duty of indemnification Taco Bell could not
have adequately represented TBWA’s interests in the Wrench action under
these circumstances

The conflict created by the fault exclusion of the indemnification
agreement prevents application of the estoppel bar against TBWA. See State
Farm Fire & Cas. Co. v. L. Arthur Byrd et al, 729 F. Supp. 1265 (N.D. Cai.
1990), aff’d, State Farm Fire & Cas. Co. v. Engstrom, 933 F.2d 772 (91h Cir.
1991 ). in State Farm, the insured killed a woman, and the woman`s estate
brought a wrongful death action against the insured ld. at 1266.6 in the

stipulated settlement the parties agreed that, in exchange for not executing

 

5 ( . . . continued)
losing party in the first action.”).

6 The court in State Farm applied Caiifornia law

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1 judgment against the insured’s personal assets the insured would assign his

2 rights under his insurance policy. ld. Because a showing of willfulness or

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3 intent on the part of the insured would render the insurance policy inapplicab|e,
4 the parties stipulated in the settlement that the insured caused the woman’s t
5 death without premeditation or intent to kiii. ld. at 1267. Thus, the stipulated
6 settlement was solely in furtherance of the insured’s interests and contrary to
7 the insurer’s interests
8 in affirming the lower court’s decision, the Ninth Circuit explained that
9 district court held that the stipulated judgment had no collateral effect on the

10 insurer because “[the insurer] was not a party or privy in the former action

11 because of the manifest conflict between [the insurer] and [the insured] on the

12 issue of [the insured’s] intent."’ State Farm Fire & Cas. Co. v. Engstrom, 933

13 F.2d at 773. See also Havens v. Roberts, 139 Mich. App. 64, 66, 360 N.W.2d

14 183, 183-34 (1984) (after defendant committed a robbery and injured plaintiffs

15 plaintiffs sued defendant for negligence and obtained a judgment against

16 defendant Plaintiffs then filed a garnishment action against defendants insurer

17 seeking to bind the insurer by priorjudgrnent. The Michigan state court

18 however, found that res judicata was improper because insurer had an

19 intentional act exclusion in the contract that put the insurer in direct conflict with

20 the insured.).

21 in light of the above reasoning, the Wrenchjudgment has no collateral

22 effect on TBWA because of the “manifest conflict” between Taco Bell and

23 TBWA. Just as the insured in State Farm had an interest in structuring a

24 stipulated judgment that advanced his interests at the expense of the insurer’s

25 Taco Bell had an interest in structuring a judgment that advanced its own

26 interests at the expense of TBWA’s The “manifest confiict" is demonstrated by

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Taco Bell’s contention here that the jury verdict is dispositive on the issue of
TBWA’s fault under the indemnification agreement lt would be a violation of
due process to bind TBWA to the Wrenchjury verdict under these
circumstances
3. Equity

“|t must be remembered that ‘[c]o||ateral estoppel is an equitable concept
based on fundamental principles of fairness.’ Moreover, the offensive use of
collateral estoppel is more closely scrutinized than the defensive use of the
doctrine.” White Motor Corp. v. Teresinski, 214 Ca|. App. 3d 754, 763, 263 Cal.
Rptr. 26, 31 (1989) (internal citations omitted). Here, Taco Bell seeks to invoke
an equitable doctrine to bind TBWA to a $42 million liability Taco Bell incurred
for breaching an undisclosed implied-in-fact contract between Taco Bell and a
third party. lt is undisputed that TBWA was not a party to that contract; that
TBWA was not told of that contract prior to the filing of the Wrench action; and
that TBWA was note party to the Wrench action. lt is also undisputed that
Taco Bell approved the airing of the Chihuahua ads between January 1998 and
June 2000 while denying any contractual obligation to Wrench. The court’s

decision not to apply collateral estoppel is also based on these equitable .

C. ADD|T|ONAL EV|DENCE

|n a last minute revamping of its liability theory, Taco Bell attempts to
avoid summary judgment by arguing that there is “additiona| evidence.” beyond
the Wrench jury verdict, to support its indemnification claim. Citing the
introductory language of paragraph 7 of the agency agreement by which TBWA
agreed to “exercise its best judgment in the preparation and placing of [Taco

Bell’s] advertising and publicity with a view to avoiding any claims, proceedings,

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or suits being made or instituted against" it, Taco Bell’s opposing brief on

TBWA’s summary judgment motion reasons that TBWA must have violated that 1

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provision because “it is undisputed that Taco Bell did not influence or have any q _,

input into TBWA’s commercial ideas." (Citing paragraph 65 of TBWA’s Ru|e 56 '

Statement of Undisputed Facts ). Taco Bell’s “additiona| evidence" arguments
are without merit.
1. The “Box Of Nlaterials"

ln its Opposition to TBWA’s motion, Taco Bell first suggests its
indemnification complaint should survive summaryjudgment because “it is
undisputed that sometime between June 27, 1997, and July 26, 1997, Taco Bell
sent TBWA a box of Wrench Psycho Chihuahua materials” Arguing that
TBWA’s receipt of those Psycho Chihuahua materials violated a TBWA internal
policy with regard to “unsolicited ideas and materials” Taco Bell suggests that
these facts constitute “circumstantia| evidence in support of the jury’s verdict
that TBWA had not independently created the advertisements,” and thus
somehow support the instant complaint.

Taco Bell’s belated argument lacks merit and misconstrues the Wrench
jury findings The Wrenchjury did not conclude “TBWA had not independently
created the Advertisements.” Ratherl the jury verdict found “that the character
used by Taco Bell was not independently created by Chiat/Day." The verdict
form did not address the independent creation of “the Advertisements.”

Taco Bell’s assertion of the “box of materials” argument is unavailing.
The undisputed testimony of Taco Bell’s current and former employees is that
the “box of materials” - which contained no storyboards or commercial ideas -
were delivered to Taco Bell after TBWA had already begun production of its first

Chihuahua commercia|. According|y, those materials have no evidentiary value

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on the question litigated by Taco Bell in Wrench, i.e., whether “Taco Bell and
TBWA" independently created the Taco Bell Chihuahua character it introduced
on June 2, 1997. As Alfaro testified, those materials - delivered in late June
1997 - could not have been the basis for TBWA’s pre-existing Chihuahua
concept
2. Trademark And Copy C|earance

Taco Bell’s final arguments that TBWA failed to conduct trademark and
copy clearance also lack merit The underlying Wrench liability involves no
trademark and copyright violations Rather, as Taco Bell’s briefs on appeal in
the Wrench action conceded, the $42 million breach of implied contract
judgment was for Taco Bell’s use of an unprotected “non-novel idea.” No
trademark search or copy clearance review would have revealed Taco Bell’s

undisclosed implied contract with Wrench.

|V. PREVA|L|NG PARTY AWARD

Paragraph 15 of the agency agreement provides that the prevailing party
in any action on the agreement will be entitled to recover from the losing party
such amount as the Court finds reasonable for the legal fees rendered to the
prevailing party. According|y, the Court hereby finds TBWA to be the prevailing
party under paragraph 15 of the agency agreement and awards TBWA, as part
of the judgment herein, its reasonable attorney fees, in an amount to be

determined.

V. DlSPOSlTlON
After considering the parties’ papers and arguments the case file and
record, and all other matters presented to the Court, lT lS HEREBY ORDERED

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that the motion of TBWA is GRANTED and the motion of Taco Bell is DENlED.

TBWA is awarded its fees and reasonable attorney’s fees

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GEORG P. SC lAVELL|
UN|TED STATES DlSTR|CT JUDGE

    

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